        Case 2:07-cr-00088-KJM Document 36 Filed 08/23/07 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E MAIL: jaygreiner@midtown.net
 5
     ATTORNEY FOR DEFENDANT
 6   GONZALO VALENCIA HERRERA
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )               CR.-S-07-0088-FCD
11                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
12                                  )               TO CONTINUE STATUS CONFERENCE
          v.                        )               TO SEPTEMBER 24, 2007
13                                  )
     GONZALO VALENCIA HERRERA, )
14             et al,               )
                                    )
15        DEFENDANTS.               )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Philip A. Ferrari, and defendant Victor Manuel Alvarado, by his
19   attorney Mr. Preciliano Martinez, defendant Jesus Valencia Ontiveros, by his attorney
20   Mr. Bruce Locke, defendant Sabas Miramontes, by his attorney Mr. Donald P.
21   Dorfman, defendant Jose Luis Villanueva Diaz, by his attorney Ms. Dina L. Santos,
22   defendant Ricardo Valencia Diaz, by his attorney Mr. Roland L. Bennett, defendant
23   Margarito Ramirez Caballero, by his attorney Mr. Gilbert A. Roque, and defendant
24   Gonzalo Valencia Herrera, by his attorney James R. Greiner, hereby stipulate and
25   agree that the status conference calendared for Monday, August 27, 2007, at 10:00
26   a.m. before the Honorable District Court Judge, Frank C. Damrell, Jr., shall be
27   continued to Monday, September 24, 2007, at 10:00 a.m.
28                                              1
        Case 2:07-cr-00088-KJM Document 36 Filed 08/23/07 Page 2 of 4


 1         The background of the case to date is as follows:
 2         The criminal complaint was filed on February 27, 2007, with all defendants
 3   making their first appearance on that date.
 4         An Indictment was returned against all defendants on March 8, 2007.
 5         On March 13, 2007, all defendants were arraigned on the Indictment and a
 6   status conference was set for April 23, 2007, in the District Court. Time under the
 7   Speedy Trial Act was excluded under Local Code T-4 and Title 18 U.S.C. section
 8   (h)(8)(B)(iv).
 9         The status conference was held on April 23, 2007, with the Court setting
10   Monday, June 4, 2007, as the next status conference date. Time continued to be
11   excluded under the Speedy Trial Act under Local Code T-4 and Title 18 U.S.C.
12   section (h)(8)(B)(iv). A stipulation and Order was signed continuing the status
13   conference set on Monday, June 4, 2007 to Monday, August 27, 2007. Time
14   continued to be excluded under the Speedy Trial Act under Local Code T-4 and Title
15   18 U.S.C. section (h)(8)(B)(iv).
16         The government has continually produced discovery in this case which has been
17   and is being reviewed by defense counsel and with their respective clients. The
18   discovery the defense has received from the government to date, needs to be
19   examined, analyzed and discussed with the defendants to ensure each defendant has
20   knowledge of the case the government has produced to date. In addition, the need for
21   investigation by the defense is required and the additional time will allow that to take
22   place. The need for the extra time outweighs the interest in a speedy trial to allow
23   defense counsel adequate time for proper and reasonable preparation of the case,
24   including investigation, and the parties agree and stipulate to this fact.
25         In addition, Mr. Gilbert A. Roque was recently substituted into this case as of
26   July 19, 2007. Mr. Roque is in need of additional time to review the ongoing
27   discovery and discuss the discovery and the case with his client, and to investigate the
28                                                 2
        Case 2:07-cr-00088-KJM Document 36 Filed 08/23/07 Page 3 of 4


 1   issues in the case. The additional time will allow Mr. Roque the needed time since he
 2   has just been substituted into the case.
 3         The parties stipulate and agree that time under the Speedy Trial Act shall
 4   continue be excluded up to and including Monday, September 24, 2007, under
 5   Title 18 U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-4.
 6         The Court’s courtroom deputy was called to clear the date requested and the
 7   date is available on the Court’s calendar.
 8                                    Respectfully submitted,
 9                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
10
                                      /s/ PHILLIP A. FERRARI by e mail authorization
11
     DATED: 8-23-07                   _____________________________________
12                                    PHILLIP A. FERRARI
                                      ASSISTANT UNITED STATES ATTORNEY
13                                    ATTORNEYS FOR THE PLAINTIFF
14
     DATED: 8-23-07                   /s/ PRECILIANO MARTINEZ by telephone
15                                    authorization
                                      ______________________________________
16                                    PRECILIANO MARTINEZ
                                      ATTORNEY FOR DEFENDANT ALVARADO
17
     DATED: 8-23-07                   /s/ BRUCE LOCKE by telephone authorization
18                                    ______________________________________
                                      BRUCE LOCKE
19                                    ATTORNEY FOR DEFENDANT ONTIVEROS
20   DATED: 8-23-07                   /s/ DONALD P. DORFMAN by telephone
                                      authorization
21                                    ________________________________________
                                      DONALD P. DORFMAN
22                                    ATTORNEY FOR DEFENDANT MIRAMONTES
23   DATED: 8-23-07                   /s/ DINA L. SANTOS by e mail authorization
                                      ________________________________________
24                                    DINA L. SANTOS
                                      ATTORNEY FOR DEFENDANT JOSE DIAZ
25
26
27
28                                                3
       Case 2:07-cr-00088-KJM Document 36 Filed 08/23/07 Page 4 of 4


 1   DATED: 8-23-07              /s/ ROLAND L. BENNETT by telephone
                                 authorization
 2                               ________________________________________
                                 ROLAND L. BENNETT
 3                               ATTORNEY FOR DEFENDANT RICARDO DIAZ
 4
     DATED: 8-23-07              /s/ GILBERT A. ROQUE by e mail authorization
 5                               _________________________________________
                                 GILBERT A. ROQUE
 6                               ATTORNEY FOR DEFENDANT CABALLERO
 7
                                 /s/ JAMES R. GREINER
 8   DATED: 8-23-07              _____________________________________
                                 JAMES R. GREINER
 9                               ATTORNEY FOR DEFENDANT HERRERA
10
11
12                                     ORDER
13
14        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
15
16
     DATED: AUGUST 23, 2007.
17
                                      _______________________________________
18                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
19
20
21
22
23
24
25
26
27
28                                        4
